              Case 19-01253     Doc 30     Filed 10/15/19 Entered 10/15/19 10:24:10           Desc Main
                                             Document     Page 1 of 8



                                   UNITED STATES BANKRUPTCY COURT
                                      NORTHERN DISTRICT OF IOWA

In re:                             )            Chapter 11
                                   )            Bankruptcy No. 19-01253
Second Progression, LLC,           )
                                   )            ACTING UNITED STATES TRUSTEE'S
             Debtor in Possession. )            MOTION TO DISMISS CASE

         The Acting United States Trustee (“UST”) for Region 12, through the undersigned Trial Attorney, hereby

moves the Court to dismiss the above Chapter 11 case. In support of said Motion the UST alleges as follows:

                                                    Factual Background

         1.       This case commenced upon Debtor filing, in error, an involuntary Chapter 11 case under the

Bankruptcy Code on September 11, 2019. At the time of filing, a voluntary petition was not filed. Rather, Debtor

filed a “Twenty Largest Creditors” form twice. (doc. 1).

         2.       Given the deficient filings and confusion surrounding Debtor’s involuntary filing, the UST

refrained from his initial chapter 11 protocol of soliciting creditors regarding the appointment of an unsecured

creditor’s committee or the forwarding of the initial financial report to Debtor for completion. The circumstances

of the case filing would not allow the UST to proceed as usual, resulting in a standstill.

         3.       On September 16, 2019, the Court scheduled a telephonic hearing for September 20, 2019. (doc.

8).

         4.       Rather than taking the appropriate procedural steps to, either, dismiss and refile under Chapter 7

or motion to convert to Chapter 7, on September 18, 2019, Debtor filed a Notice of Motion to Amend the Chapter

11 Case to a Chapter 7. (doc. 10). Debtor again attached the “Twenty Largest Creditor” form, a copy of the

Notice of Motion, and a Voluntary Petition electing the case as one under Chapter 7. The Petition noted the nature

of Debtor’s business consists of a single asset real estate as defined under 11 U.S.C. § 101(51B).

         5.       During the telephonic hearing on September 20, Mr. Critelli acknowledged the following:

                     That the case was inappropriately filed as an involuntary Chapter 11;

                     That competent bankruptcy counsel would need to be acquired to represent Debtor going
                                                          1
            Case 19-01253     Doc 30     Filed 10/15/19 Entered 10/15/19 10:24:10           Desc Main
                                           Document     Page 2 of 8



                    forward; and,

                   That the bankruptcy was filed in an effort to avoid an impending sheriff sale of Debtor’s real

                    estate.

       5.       The Court subsequently entered an order directing Debtor to file all appropriate documents by

October 3, 2019. (doc. 16).

       6.       To date, Debtor has not met the procedural filing requirements expected of all debtors in a

voluntary bankruptcy filing. Debtor further failed to comply with the Court’s Order by October 3, 2019. Debtor

has not sought an extension to meet either the filing requirements or to comply with the Court’s Order.

       7.       On October 4, 2019, Debtor filed an Amended Voluntary Petition electing the case under Chapter

11, along with a Motion to Convert or Amend the Debtor’s Case to a Voluntary Chapter 11 and to Accept the

Petition Filed Herewith. (doc. 23). Despite advising the Court that competent bankruptcy counsel would be

retained, the October 4 filings occurred under Mr. Critelli as counsel for Debtor.

       8.       The attempt to now motion to convert to 11 (while the notice of motion to convert to Chapter 7 is

pending) does not excuse Debtor’s obligation to comply with Bankruptcy Rule 1007, et seq. and more

importantly, the Court’s Order to comply with the basic administrative filing requirements upon the

commencement of a case. The result is a continuing delay which is prejudicial to creditors and an inability with

respect to all parties in interest with moving forward with the case. In any event a proper meeting of creditors

cannot be scheduled or conducted because creditors have not been properly scheduled and therefore cannot be

noticed.

       9.       For the reasons set forth in Paragraphs 1-8 herein, ample cause exists to dismiss Debtor’s case.

Because it is not entirely clear under what chapter Debtor’s case is currently pending, those grounds exist under

either Sections 1112(b) or 707(a) resulting from Debtor’s failure to meet filing requirements, failure to comply

with a court order, and prejudicial delay to creditors.

       10.      The UST further asserts that Debtor’s filing is indicative of bad faith as additional grounds for

                                                          2
             Case 19-01253          Doc 30      Filed 10/15/19 Entered 10/15/19 10:24:10                  Desc Main
                                                  Document     Page 3 of 8



dismissal. Accordingly, the UST submits that the Court should consider if a bar from re-filing is appropriate

pursuant to 11 U.S.C. § 105(a).

                                                   Bad Faith as Cause for Dismissal

           11.     Debtor is the owner of real property, address described as 600 3rd Ave. SE, Cedar Rapids, Iowa

52401, located in Linn County, Iowa (the “Property”).

           12.     WFRBS 2013-C18 Third Avenue SE, LLC (“WFRBS”) obtained a foreclosure judgement

against the Property in the amount of $30,561,084.64, plus interest.1 WFRBS attached to its Motion to Dismiss

relevant documents related to the foreclosure. (doc. 26 and attachments). The Court in the foreclosure matter

also appointed a Receiver, NAI Optimum, with respect to the Property.

           13.     Debtor commenced the filing of this case within a day of a scheduled sheriff’s sale on the

Property, or September 12, 2019.

           14.     The Receiver requested and this Court granted the Receiver’s excusal with compliance of the

turnover provisions under 11 U.S.C. § 543. (docs. 6 and 19).

           15.     WFRBS also initiated in personam litigation against Debtor. Those claims were scheduled to go

to trial on September 16, 2019. The filing of this case stayed those proceedings as well.

           16.     As set forth in WFRBS’s Motion to Dismiss, the State Court foreclosure action had been

ongoing for years. The Property at issue is valued significantly less than what is owed to WFRBS.

Accordingly, it does not appear there is any reasonable likelihood of a reorganization.

           17.     Although not one of the sixteen grounds for dismissal promulgated in 11 U.S.C. § 1112(b)(4),

several circuit court opinions have recognized and affirmed the authority of bankruptcy courts to dismiss chapter

11 cases that fail to meet a good faith standard. See In re Madison Hotel Assoc., 749 F.2d 410, 426 (7th Cir. 1984)

(dicta); See also SGL Carbon, 200 F.3d at 160-61; Marsch v. Marsch, 36 F.3d 825, 828 (9th Cir. 1994); In re

Natural Land Corp., 825 F.2d 296 (11th Cir. 1987); In re Little Creek Development Co., 779 F.2d 1068 (5th Cir.


1
    WFRBS 2013‐C18 Third Avenue SE, LLC v. Second Succession, LLC, et al, Linn County, Iowa, Case No. EQCV088053.
                                                                 3
          Case 19-01253        Doc 30     Filed 10/15/19 Entered 10/15/19 10:24:10               Desc Main
                                            Document     Page 4 of 8



1986). A debtor’s lack of good faith constitutes cause for dismissal of a Chapter 11 petition. In re SGL Carbon,

200 F.3d at 160-62; In re Phoenix Piccadilly, Ltd., 849 F.2d 1393 (11th Cir. 1988); In re Ravick Corp., 106 B.R.

834, 842 (Bankr. D. N.J. 1989)(finding it well settled debtor’s bad faith filing sufficient cause to warrant dismissal

of a case under Section 1112(b)); See also Matter of Newark Airport/Hotel Ltd. Partnership, 156 B.R. 444 (Bankr.

D. N.J. 1993) (lack of good faith is sufficient cause for dismissal or conversion of Chapter 11 case).

       18.      It is the burden of the debtor to establish that the petition was filed in good faith. In re SGL Carbon,

200 F.3d at 162 (citing In re Fox, 232 B.R. 229, 233 (Bankr. D. Kan. 1999)); Stage I Land Co. v. United States,

71 B.R. 225, 229 (D. Minn. 1986)).

       19.      While a Chapter 11 filing arising out of a two-party dispute or triggered by a state court proceeding

does not per se constitute a bad faith filing, those are factors to be considered in determining if a case was

commenced in good faith. In re Ravick, 106 B.R. 834, 850 (Bankr. D.N.J. 1989); In re SGL Carbon, 200 F.3d at

162; Matter of Newark Airport/Hotel Ltd., 156 B.R. at 449. The court in In re AMC Realty Corp., considered the

following factors in determining a bad faith filing:

             Over the years, a number of factors have been identified which may be indicative of a bad faith
             filing, and whose presence, or absence, has regularly been considered:

                (1) the debtor has only one asset;

                (2) the debtor has few unsecured creditors whose claims are small in relation to those of
                the secured creditors;

                (3) the debtor’s one asset is the subject of a foreclosure action as a result of arrearages or
                default on the debt;

                (4) the debtor’s financial condition is, in essence, a two party dispute between the debtor
                and secured creditors which can be resolved in the pending state foreclosure action;

                (5) the timing of the debtor’s filing evidences an intent to delay or frustrate the legitimate
                efforts of the debtor’s secured creditors to enforce their rights;

                (6) the debtor has little or no cash flow;

                (7) the debtor cannot meet current expenses including the payment of personal property
                and real estate taxes; and

                                                             4
          Case 19-01253         Doc 30      Filed 10/15/19 Entered 10/15/19 10:24:10               Desc Main
                                              Document     Page 5 of 8



                 (8) the debtor has no employees.

270 B.R. 132, 141 (Bankr. S.D. N.Y. 2001); citing C-TC 9th Avenue Partnership, 113 F.3d 1304, 1311 (2d Cir.

1998) (citing Pleasant Pointe Apartments, Ltd. V. Kentucky Hous. Corp., 139 B.R. 828, 832 (W.D. Ky. 1992)).

       20.       Other courts have dismissed cases as bad faith filings for a variety of reasons, including but not

limited to: (1) when the petition is filed merely as a litigation tactic; (2) when the petition was filed solely to

frustrate the legitimate efforts of other parties to enforce their rights; (3) when the debtor lacks a valid

reorganizational purpose; and (4) when the debtor’s sole motive is to avoid a contract. See In re SGL Carbon

Corp.; In re Ravick Corp.; See also In re Y.J. Sons & Co., Inc., 212 B.R. 793 (D. N.J. 1997); In re HBA East,

Inc., 87 B.R. 248 (Bankr. E.D. N.Y. 1988); In re Heritage Wood >N Lake Estates, Inc., 73 B.R. 511, 514 (Bankr.

M.D. Fla. 1987). Likewise, In re South Beach Securities, Inc. 341 B.R. 853, 856-57 (N.D. Ill. 2006) the court

found the factors relevant to determining good faith were determining whether:

             1) [T]he debtor has any assets; 2) the debtor has recently transferred assets; 3) the debtor has
             any employees; 4) the debtor has any cash flow to sustain reorganization; 5) the debtor has any
             chance of confirming a reorganization plan; 6) the debtor and one of its creditors have reached
             a standstill in state court litigation; 7) the debtor is trying to delay its creditors or reduce their
             rights; 8) there are allegations of wrongdoing by the debtor or its principals; or 9) bankruptcy
             offers the only possibility of preventing the loss of property.

       21.       Upon information and belief, all factors as set forth in Paragraph 19 herein are applicable in this

case. The UST will not detail the factual circumstances related to each factor as WFRBS, more intimately and

directly involved, has scrupulously enlightened the Court to same in its Motion to Dismiss. By way of summation,

they include, but are not limited to:

             a. Debtor has only one asset.

             b. The Property of Debtor is encumbered by a contract between WFRBS and Debtor and the subject

                 of a foreclosure action with judgment entered in favor of WFRBS.

             c. The timing of Debtor’s case filing, one the eve of sheriff sale of the Property and days before trial

                 on the in personam claims, as well as Mr. Critelli’s statement on the record that the filing took

                 place to cancel the sheriff sale, evidences an intent to delay and frustrate the legitimate efforts of
                                                             5
             Case 19-01253      Doc 30      Filed 10/15/19 Entered 10/15/19 10:24:10            Desc Main
                                              Document     Page 6 of 8



                  WFRBS to enforce their rights.

              d. The secured portion of FB’s claim as represented by Debtor appears to be severely understated,

                  thereby causing Debtor’s liabilities to exceed assets, rendering a legally and economically feasible

                  plan of reorganization unlikely.

              e. Because the value of Debtor’s single asset is considerably less than WFRBS, there would be no

                  return to unsecured creditors. Thus, Debtor’s financial condition is, in essence, a two party dispute

                  which can be resolved in the State Court action.

              f. Debtor has no cash flow or employees.

       22.        Mr. Critelli also admitted on the record that he is not competent to represent Debtor in this case.

This further evidences that Debtor’s filing was done only to frustrate the pending litigation and not to further any

legitimate reorganization effort. The statement evidences bad faith on its face.

       23.        The dispute between WFRBS and Debtor should be resolved in the pending State Court matter.

In light of the circumstances, it is obvious relief was sought only to delay and frustrate ongoing litigation which

has nearly reached its conclusion. Debtor has not provided the Court or any other interested party with assurance

that it has any intent to comply with the Code. The UST has reached out to Mr. Critelli regarding these cases and

has received no response. There is no reason to believe Debtor is serious about attempting to reorganize.

       24.        To prevent further delay and to allow the underlying State Court matters to be heard and finalized,

this Court should exercise its inherent power under Section 105(a) and implement a reasonable bar on re-filing

under Title 11.

       WHEREFORE the Acting United States Trustee respectfully requests the Court dismiss Debtor’s case and

for such other relief the Court deems just and equitable.

       ///

                  ///



                                                            6
Case 19-01253   Doc 30   Filed 10/15/19 Entered 10/15/19 10:24:10    Desc Main
                           Document     Page 7 of 8




                                               James L. Snyder,
                                               Acting United States Trustee
                                               Region 12


                                               By:/s/ L. Ashley Zubal
                                               L. Ashley Zubal
                                               ID # IS9998256
                                               Federal Building, Room 793
                                               210 Walnut Street
                                               Des Moines, Iowa 50309-2108
                                               Ph: (515) 323-2269
                                               Ashley.Zubal@usdoj.gov




                                     7
         Case 19-01253       Doc 30     Filed 10/15/19 Entered 10/15/19 10:24:10          Desc Main
                                          Document     Page 8 of 8



                                        CERTIFICATE OF SERVICE

  The undersigned certifies that copies of this document were served on the parties listed below by electronic
mail or first-class mail, postage prepaid, on October 15, 2019:



      Jeffrey W. Courter             jwc@nyemaster.com, krenslow@nyemaster.com
      Mark A Critelli                critellilawfirm@gmail.com
      Christopher K Loftus           cloftus@SPMBLAW.com, ferbe@spmblaw.com
      H. Raymond Terpstra            RTerpstra@TEWLaw.net, ncihla@tewlaw.net
      United States Trustee          USTPRegion12.CR.ECF@usdoj.gov
      Mark Daniel Walz               markwalz@davisbrownlaw.com

       Robert Hammeke
       Dentons US LLP
       4520 Main Street, Suite 1100
       Kansas City, MO 64111


                                                       /s/ L. Ashley Zubal
                                                       L. Ashley Zubal




                                                       8
